Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 1 of 43 PageID #: 1075




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                   )
   ASTELLAS PHARMA INC., et al.,                   )
                                                   )
                         Plaintiffs,               )
                                                   )
                         v.                        )
                                                   )   C.A. No. 20-1589-JFB-CJB
   SANDOZ INC., et al.,                            )
                                                   )
                         Defendants.               )
                                                   )
                                                   )
                                                   )
                                                   )


                              STIPULATED PROTECTIVE ORDER

          WHEREAS, Plaintiffs Astellas Pharma Inc., Astellas Ireland Co., Ltd., and Astellas

  Pharma Global Development, Inc. (collectively, “Astellas” or “Plaintiffs”) and Defendants Sandoz

  Inc. (“Sandoz”), Actavis Elizabeth LLC and Teva Pharmaceuticals USA, Inc. (collectively,

  “Actavis”), Apotex Inc. and Apotex Corp. (collectively, “Apotex”), Aurobindo Pharma Ltd.,

  Aurobindo Pharma USA, Inc., and Aurolife Pharma LLC (collectively, “Aurobindo”), Sawai

  Pharmaceutical Co., Ltd. and Sawai USA, Inc. (collectively, “Sawai”), Prinston Pharmaceutical

  Inc., Zhejiang Huahai Pharmaceutical Co. Ltd., Huahai US Inc., and Solco Healthcare US LLC

  (collectively, “Prinston”), Zydus Pharmaceuticals (USA) Inc. and Cadila Healthcare Limited

  (collectively, “Zydus”), and Lupin Ltd. and Lupin Pharmaceuticals, Inc. (collectively, “Lupin”)

  (all Defendants collectively “Defendants”) are parties (Plaintiffs and Defendants collectively, the

  “Parties”) to the above referenced patent infringement case (the “Litigation”);

          WHEREAS, discovery in this Litigation may involve the disclosure of certain documents,

  things, and information in the possession, custody, or control of the Parties or a Non-Party that

                                                  1
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 2 of 43 PageID #: 1076




  constitute or contain trade secrets or other confidential research, development, manufacturing,

  regulatory, financial, marketing, or other competitive information within the meaning of Rule

  26(c)(1) of the Federal Rules of Civil Procedure;

           WHEREAS, good cause exists for entry of this Protective Order, see Fed. R Civ. P. 26(c),

  Pansy v Borough of Stroudsburg, 23 F.3d 772, 786 (3d Cir. 1994);

           WHEREAS, this Protective Order provides reasonable restrictions on the disclosure and

  use of such sensitive materials of a confidential nature;

           WHEREAS, all Parties agree to the terms of this Protective Order to protect such

  confidential documents and information;

           WHEREAS, on July 24, 2017, the Court entered a protective order in a previous action

  (“the First Action’s Protective Order”) concerning one or more of the Parties, Astellas Pharma

  Inc., et al. v. Actavis Elizabeth LLC, et al. C.A. No. 16-905-JFB-CJB (Consolidated), D.I. 66;

           WHEREAS, the Parties in this Litigation entered into a stipulation (Astellas Pharma Inc.,

  et al. v. Actavis Elizabeth LLC. et al., C.A. No. 16-905-JFB-CJB (Consolidated), D.I. 607)

  amending the First Action’s Protective Order until entry of this Protective Order; and

           WHEREAS, all Parties agree that the terms of this Protective Order will not unreasonably

  prevent sharing of confidential documents and information between the Parties as necessary to

  prepare this case for trial.

           THEREFORE, in view of the foregoing and because the Parties hereto, by and through

  their respective counsel, have stipulated to the entry of the following Protective Order pursuant to

  Fed. R. Civ. P. 26(c), and the Court having determined good cause exists for entry of this Protective

  Order,




                                                   2
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 3 of 43 PageID #: 1077




          IT IS HEREBY STIPULATED, AGREED, and ORDERED BY THE COURT, as

  follows:

      1. Scope of Protective Order. This Protective Order shall apply to all information,

  documents, things, responses to discovery, and testimony produced voluntarily or within the scope

  of discovery in this Litigation, including, without limitation, all documents or things produced in

  response to requests for the production of documents and things or subpoenas, answers to

  interrogatories, responses to requests for admission, testimony adduced and documents and things

  marked as exhibits at depositions, hearings, and at trial, testimony adduced upon written questions,

  all other discovery taken pursuant to the Federal Rules of Civil Procedure, and any other

  information furnished, directly or indirectly, by or on behalf of any Party to this Litigation or any

  Non-Party, to the extent such material is designated “CONFIDENTIAL INFORMATION” in

  accordance with Paragraph 4 of this Protective Order. The Party or Non-Party producing such

  information is referred to both in the singular and in the plural hereafter as the “Producing Party,”

  and the Party receiving such information is referred to hereafter as the “Receiving Party.”

          This Protective Order shall also govern any designated record of information produced in

  this Litigation pursuant to required disclosures under any federal procedural rule or District of

  Delaware local rule, and any supplementary disclosures thereto.

      2. Definitions. The following terms, as used herein, are defined as follows:

                    A.   “CONFIDENTIAL INFORMATION” means any form of trade secret or

          other confidential research, development, or commercial information within the meaning

          of Fed. R. Civ. P. 26(c)(1)(G). The designation of CONFIDENTIAL INFORMATION by

          a Producing Party constitutes its representation that it reasonably and in good faith believes

          that the designated material constitutes or contains information in one or more of the


                                                    3
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 4 of 43 PageID #: 1078




          foregoing categories within the meaning of Fed. R. Civ. P 26(c)(1)(G).             Further,

          CONFIDENTIAL INFORMATION includes: (a) all copies, extracts, and complete or

          partial summaries prepared from CONFIDENTIAL INFORMATION, and (b) portions of

          briefs, memoranda, or any other writings filed with the Court and exhibits thereto that

          contain, summarize, or reflect the content of any such CONFIDENTIAL INFORMATION.

          CONFIDENTIAL INFORMATION includes information that is of such a sensitive nature

          that it supports a reasonable and good faith belief that granting access to such information

          to an employee or officer of a competitor will place the Producing Party at a competitive

          disadvantage.

                    B.    “Defendant Group” shall mean one of the groups of Defendants as listed

          below (and, collectively, referred to as “Defendant Groups”):

                     (1). “Sandoz Defendant Group” shall mean Sandoz Inc.;

                     (2). “Actavis Defendant Group” shall mean Actavis Elizabeth LLC and Teva

                          Pharmaceuticals USA, Inc.;

                     (3). “Apotex Defendant Group” shall mean Apotex Inc. and Apotex Corp.;

                     (4). “Aurobindo Defendant Group” shall mean Aurobindo Pharma Ltd.,

                          Aurobindo Pharma USA, Inc. and Aurolife Pharma LLC;

                     (5). “Sawai Defendant Group” shall mean Sawai Pharmaceutical Co. Ltd. and

                          Sawai USA Inc.;

                     (6). “Prinston Defendant Group” shall mean Prinston Pharmaceutical Inc.,

                          Zhejiang Huahai Pharmaceutical Co. Ltd., Huahai US Inc., and Solco

                          Healthcare US LLC;

                     (7). “Zydus Defendant Group” shall mean Zydus Pharmaceuticals (USA) Inc.


                                                   4
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 5 of 43 PageID #: 1079




                             and Cadila Healthcare Limited; and

                         (8). “Lupin   Defendant     Group”   shall   mean   Lupin   Ltd.   and   Lupin

                             Pharmaceuticals, Inc.

          Each Defendant Group shall be considered as a single “Party” for purposes of marking

  CONFIDENTIAL INFORMATION as a “Producing Party,” receiving CONFIDENTIAL

  INFORMATION as a “Receiving Party,” and, to the extent permitted in this Protective Order, to

  object on behalf of a Party. If additional defendants are added to this action, they shall be included

  in the appropriate existing Defendant Group, or to the extent newly added defendants are not

  related, either directly or indirectly, to an existing Defendant Group, one or more new Defendant

  Groups shall be created without the need for formal modification of this Protective Order.

                    C.       "Non-Party” shall mean any person or entity that is not a Party to this

          Litigation.

                    D.       “Scheduling Order” shall mean an order entered in this Litigation by the

          Court pursuant to Fed. R. Civ. P. 16(b)(1), and any amendments or supplements ordered

          by the Court thereto.

                    E.       “Testifying Expert” has the same meaning as that recited in Fed. R. Civ. P.

          26(a)(2).

                    F.       “Outside Consultant” shall be an expert witness who is not a current

          employee of any of the Parties to this Litigation, and whose advice and consultation are

          being or will be used in connection with this Litigation by Outside Counsel, but such expert

          witness will not be a Testifying Expert.

      3. Non-Parties Under the Protective Order. Unless otherwise stipulated in writing, this

  Protective Order shall apply to any information provided by a Non-Party in discovery in this


                                                       5
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 6 of 43 PageID #: 1080




  Litigation. With respect to such information provided and so designated by a Non-Party, such

  Non-Party has the same rights and obligations under this Protective Order as held by the Parties to

  this Litigation, and the Parties will treat such CONFIDENTIAL INFORMATION in accordance

  with this Protective Order. Because a Non-Party may be requested to produce documents

  containing information that a Party considers confidential, all documents produced by a Non-Party

  in this Litigation shall be treated as if designated CONFIDENTIAL INFORMATION under this

  Protective Order for a period of seven (7) days after production in order to allow the Parties time

  to review the documents and make any appropriate designations hereunder. Additionally, a

  Producing Party may redact or withhold the CONFIDENTIAL INFORMATION of a Non-Party

  that is in its possession where the CONFIDENTIAL INFORMATION belongs solely to the Non-

  Party and the Producing Party is under an obligation not to disclose such information, provided

  that the Producing Party shall promptly notify the Receiving Party that such information is being

  withheld, identify the Non-Party to the Receiving Party, and shall promptly notify the Non-Party

  that the information has been requested, provide the Non-Party with a copy of this Protective

  Order, make reasonable efforts to obtain the Non-Party’s consent to produce it under the terms of

  this Protective Order and inform the Non-Party that the information will be produced unless it

  appears within 21 days and seeks additional restrictions on the information. If neither the Non-

  Party nor Producing Party appears and seeks additional restrictions within 21 days after the

  notification is sent by the Producing Party to the Non-Party, the Producing Party shall produce the

  Non-Party’s information according to the terms of this Protective Order.

          Nothing in this provision or this Protective Order permits a Producing Party to redact or

  withhold discoverable documents and things merely on the bases that the Producing Party and the

  Non-Party have an agreement or understanding that an obligation exists not to disclose such


                                                  6
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 7 of 43 PageID #: 1081




  CONFIDENTIAL INFORMATION if the CONFIDENTIAL INFORMATION belongs to the

  Producing Party, for example, if the CONFIDENTIAL INFORMATION concerns work

  performed on behalf of the Producing Party and/or consideration was paid by the Producing Party

  for the work that constitutes the CONFIDENTIAL INFORMATION. To the extent that any

  CONFIDENTIAL INFORMATION is provided solely by a Non-Party during discovery, and that

  CONFIDENTIAL INFORMATION is relevant to one or more Defendant Group(s) as defined in

  Paragraph 2.B, the Non-Party CONFIDENTIAL INFORMATION shall be considered as having

  been produced by the relevant Defendant Group(s), and sharing of this Non-Party information

  between Defendant Groups shall be governed by the provisions in Paragraph 15.

      4. Marking Documents and Things. Each page of a document and each thing that

  constitutes or contains CONFIDENTIAL INFORMATION shall be labeled or marked

  respectively with the following legend, or a similar designation, when the document or thing is

  produced to the Receiving Party:

             CONFIDENTIAL INFORMATION – SUBJECT TO PROTECTIVE ORDER

  Anything that cannot be labeled or marked on its face with the above legend shall be labeled or

  marked by placing the appropriate legend on a container or package in which it is produced or on

  a tag attached thereto. Inspection of materials shall be conducted only by persons eligible under

  Paragraph 11 below. Such persons shall initially treat all materials disclosed during any inspection

  as containing CONFIDENTIAL INFORMATION until such materials are produced. Thereafter,

  such materials shall be treated by the Receiving Party in accordance with the confidentiality

  designation made at the time of their production.

          To the extent agreed to by the Parties, all documents redacted based on attorney-client

  privilege or work-product immunity shall be listed on a privilege log in accordance with Fed. R.


                                                   7
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 8 of 43 PageID #: 1082




  Civ. P. 26(b)(5) and exchanged at a mutually agreeable date and time. Any materials marked with

  the designation “Redacted-Privileged,” or a similar marking are not required to be logged in a

  Party’s privilege log in the first instance. Upon a showing of good cause (e.g., that the sender,

  recipients, or nature of the privilege cannot be ascertained), the Receiving Party may request that

  the Producing Party log a redacted document. The Parties need not log material in a privilege log

  to the extent that material was generated on or after the filing date of this Litigation, or for parties

  added under Paragraph 30, the date the parties were added to this Litigation or materials were

  reviewed and properly withheld as part of the Parties document productions made under the First

  Action’s Protective Order.

          In the event that the Receiving Party copies or translates any CONFIDENTIAL

  INFORMATION, that Receiving Party agrees to clearly designate all such copies and translations

  with the appropriate confidentiality legend pursuant to Paragraph 4 of this Protective Order.

          In limited circumstances where the Producing Party is producing sensitive financial

  information, the Producing Party may request that these financial documents or information being

  produced be treated as “Outside Counsel Only.”1 Counsel for the Receiving Party may within five

  (5) calendar days after such a request, serve an objection to the request if a reasonable basis for

  such objection exists. If counsel for the Receiving Party fails to object to such designation within

  the prescribed period, any objection to such designation shall be deemed waived and the Receiving

  Party agrees not to disclose such documents or information to any persons listed under Paragraph

  11.A of this Protective Order. If within ten (10) business days after service of an objection, no


  1
    Persons described in Paragraph 11.B designated by a Party shall be permitted access to
  unredacted pleadings, court filings, declarations, and expert reports, directed toward that Party,
  that refer to material the Producing Party has requested be treated as “Outside Counsel
  Only.” However, such persons shall not be permitted to review the underlying financial
  documents or information.
                                                     8
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 9 of 43 PageID #: 1083




  agreement is reached between the Parties to the objection, then counsel for the Receiving Party

  who served the objection may seek relief from the Court pursuant to the Court’s dispute procedure

  set forth in the Scheduling Order. Failure to timely contact the Court pursuant to the Court’s

  discovery dispute procedure set forth in the Scheduling Order shall operate as a waiver of such

  objection. Counsel for Receiving Party shall not provide access to such documents or information

  to persons listed under Paragraph 11.A of this Protective Order until any objections are resolved

  to allow the Receiving Party to do so.

      5. Marking Interrogatories, Requests for Admissions, and Deposition Testimony on

  Written Questions. Any response to interrogatories, response to requests for admissions, and

  deposition testimony upon written questions that constitutes or contains CONFIDENTIAL

  INFORMATION shall be labeled or marked with the appropriate legend indicated in Paragraph 4

  when the response or testimony is served upon the Receiving Party.

      6. Marking Deposition Testimony. A deposition, or any portion of a deposition, may be

  designated CONFIDENTIAL INFORMATION during the deposition itself.                    Regardless of

  whether such a designation is made during the deposition, all testimony adduced at depositions

  and any transcripts or videos thereof will be presumptively treated as CONFIDENTIAL

  INFORMATION for a period beginning from the date of the deposition until thirty (30) days after

  a complete copy of the transcript has been provided to the deponent or the deponent’s counsel.

  Within this thirty-day (30) period, any Party may designate the deposition transcript and video, or

  any portion of the deposition transcript and video, as CONFIDENTIAL INFORMATION by

  specifying in writing to the court reporter and counsel the portion(s) of the transcript believed to

  constitute or contain CONFIDENTIAL INFORMATION by page and line number.

      7. Limitations on Attendance at Depositions. Counsel for a Producing Party may request


                                                   9
  ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 10 of 43 PageID #: 1084




   that all persons other than the witness, the court reporter, the videographer, information technology

   personnel, counsel for the witness (if a Non-Party witness), and any persons authorized under this

   Protective Order to receive CONFIDENTIAL INFORMATION of the Producing Party leave the

   deposition room during any portion of a deposition that inquires about or discloses subject matter

   that such counsel deems CONFIDENTIAL INFORMATION. If such persons fail to comply with

   such a request, the requesting counsel for the Producing Party may seek relief from the appropriate

   Court, and, pending resolution of that request, instruct, or request the witness not to answer

   questions relating to, or to limit disclosure of, the CONFIDENTIAL INFORMATION at issue.

       8. Inadvertent Production of CONFIDENTIAL INFORMATION. If a Producing Party

   inadvertently or mistakenly produces any CONFIDENTIAL INFORMATION without labeling,

   marking, or designating it as provided in this Protective Order, the Producing Party may, within

   ten (10) business days after learning of the inadvertent or mistaken production, give written notice

   to the Receiving Party that the material at issue is or contains CONFIDENTIAL INFORMATION

   and should be treated as such in accordance with this Protective Order. In such instance, the

   Producing Party shall also provide replacement copies of the material at issue properly marked as

   required under this Protective Order within a reasonable period of time. Upon receipt of such

   properly marked replacement copies, the Receiving Party shall return or destroy said unmarked or

   incorrectly marked information to the extent practicable and not retain copies thereof, and shall

   undertake best efforts to correct any disclosure of such information contrary to the re-designation.

   Disclosure of such information to persons not authorized to receive CONFIDENTIAL

   INFORMATION prior to receipt of such notice shall not be deemed a violation of this Protective

   Order.

            Should any CONFIDENTIAL INFORMATION be disclosed, through inadvertence or


                                                    10
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 11 of 43 PageID #: 1085




   otherwise, by the Receiving Party to any person or party not authorized under this Protective Order,

   then the Receiving Party shall (a) use its best efforts to obtain the return of any such material or

   information and to bind such person to the terms of this Protective Order, (b) within five (5)

   business days of the discovery of such disclosure, inform such person of all provisions of this

   Protective Order and request such person to sign the Undertaking in the form attached hereto as

   Exhibit A, and (c) within five (5) business days of the discovery of such disclosure, provide written

   notice to the Producing Party of the unauthorized disclosure, including the identity of the

   unauthorized recipient and the CONFIDENTIAL INFORMATION disclosed.

       9. Inadvertent Production of Privileged or Work Product Information. The inadvertent

   production during discovery of any document or other information subject to the attorney-client

   privilege, work-product immunity, or any other applicable statutory or common law privilege,

   limitation, or immunity from disclosure (“Inadvertently Produced Privileged Information”) shall

   be without prejudice to any claim that such material is privileged or protected from discovery and

   shall not be deemed a waiver of any type of privilege or immunity, provided that the holder of the

   privilege or protection has complied with the requirements of Rule 502 of the Federal Rules of

   Evidence and Rule 26(b)(5)(B) of the Federal Rules of Civil Procedure, including having taken

   reasonable steps to prevent the inadvertent disclosure and promptly taken reasonable steps to

   rectify the error. Upon receiving a written request to do so from the Producing Party, the Receiving

   Party shall immediately sequester the document or other information and shall, within seven (7)

   days of receiving such written request, destroy or return to the Producing Party any documents or

   tangible items that the Producing Party represents are covered by a claim of attorney-client

   privilege or work product immunity and were inadvertently or mistakenly produced. Within seven

   (7) days of receiving such written request, the Receiving Party also shall destroy or return any


                                                    11
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 12 of 43 PageID #: 1086




   copies, extracts, complete or partial summaries, and notes relating to, discussing, or describing any

   such inadvertently or mistakenly produced information, including any electronic records thereof.

   The Receiving Party shall not utilize the information contained in the inadvertently produced

   documents or things for any purpose, or disseminate or transmit such information. Within fourteen

   (14) days of providing such written request, the Producing Party must provide a privilege log in

   accordance with Fed. R. Civ. P. 26(b)(5) listing the inadvertently produced documents. The

   Receiving Party may move the Court for an order compelling the production of such information

   within seven (7) days of receiving the privilege log listing the inadvertently produced documents,

   but such a motion does not relieve the Receiving Party of complying with the requirements of this

   paragraph, and for the avoidance of doubt, the Receiving Party may not use the fact of inadvertent

   production as a basis for seeking to compel production. The Producing Party shall retain copies

   of all returned documents and tangible things, and if such a motion is filed by the Receiving Party,

   shall upon request of the Court provide copies to the Court of the documents, things, or information

   that are the subject of the motion. The Party claiming privilege or work product protection shall

   have the burden of proving that such privilege or work product protection exists.

           a.        With respect to documents or things generated by a Receiving Party, which

   documents or things contain information derived from such inadvertently produced documents or

   things, if the Receiving Party does not notify the Producing Party that the Receiving Party disputes

   the claim of attorney-client privilege or work product immunity within 28 days of receiving written

   notice of the inadvertent production, or within 7 days after the Court rejects any challenge by the

   Receiving Party to the privileged status of the inadvertent production, the Receiving Party shall

   either destroy the derivative documents or things or redact from them all such derivative privileged




                                                    12
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 13 of 43 PageID #: 1087




   or work product information in a manner such that the derivative information cannot be retrieved

   or reproduced.

            b.       If, in a deposition, hearing, or other proceeding the Party who made the inadvertent

   production or disclosure makes a request on or off the record for return of the inadvertently

   produced or disclosed document or thing within a reasonably prompt period of time after

   recognizing that the information has been produced or disclosed, all copies of the inadvertently

   produced or disclosed document or thing present at the deposition, hearing, or other proceeding

   shall immediately be sequestered and there shall be no further use of the inadvertently produced

   or disclosed document or thing, subject to all other provisions of this paragraph including the

   provisions concerning moving to compel production of such documents.

            c.       The procedures set forth in this Paragraph for challenging the privileged status of

   an inadvertent production shall not result in any waiver of the attorney-client privilege, the work

   product immunity, or any other privilege or immunity.

            d.       With respect to CONFIDENTIAL INFORMATION previously received by a

   Receiving Party pursuant to the First Action’s Protective Order, to the extent the Party has not

   already destroyed copies of any Inadvertently Produced Privileged Information subject to the First

   Action’s Protective Order, the Party shall do so within fourteen (14) days of entry of this Protective

   Order.

       10. Disclosure and Use of Designated Materials. Subject to the limitations and restrictions

   of this Protective Order and any further order of the Court, material designated CONFIDENTIAL

   INFORMATION as described in this Protective Order shall be maintained in strict confidence by

   the Receiving Party in accordance with the terms of this Protective Order and shall be used only

   for purposes of this Litigation, or any appeal thereof. Such material shall remain confidential at


                                                      13
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 14 of 43 PageID #: 1088




   trial, and during any appeals to this Litigation, except to the extent made public in open court, and

   may not be used for any purpose or in any manner other than as permitted by this Protective Order

   or by further order of the Court.

       11. Access to CONFIDENTIAL INFORMATION. Material designated CONFIDENTIAL

   INFORMATION, and all information derived therefrom, shall be used only by persons permitted

   access to such information under this Protective Order and shall not be disclosed by the Receiving

   Party to any party or person not entitled under this Protective Order to have access to such material.

   Subject to all other restrictions in this Protective Order, and subject to the further requirements

   described in Paragraph 12, CONFIDENTIAL INFORMATION may be disclosed to only the

   following persons:

           A.        Outside litigation counsel of record for the Receiving Party and their partners,

                     associates, paralegals, secretaries, employees, and agents;

           B.        No more than four (4) in-house legal personnel from Plaintiffs and each Defendant

                     Group who are employees or act as in-house legal counsel of one of the Parties,

                     including their support staff, who are directly involved in the prosecution or defense

                     of this Litigation whose duties and responsibilities require access to material

                     designated CONFIDENTIAL INFORMATION; provided, however, that any such

                     in-house legal personnel shall be identified in writing to the Producing Party;

                           For Plaintiffs:

                                    Andrea Burke
                                    Vice President, IP Legal - Commercial, Trademarks & IP
                                    Litigation
                                    1 Astellas Way
                                    Northbrook, IL 60062




                                                      14
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 15 of 43 PageID #: 1089




                               Andrea Tiglio
                               Associate General Counsel, Intellectual Property
                               1 Astellas Way
                               Northbrook, IL 60062

                               Yoriko Suzuki
                               Executive Director, Intellectual Property
                               Astellas Pharma Inc.
                               2-5-1, Nihonbashi-Honcho
                               Chuo-ku, Tokyo 103-8411
                               Japan

                        For Sandoz Defendant Group:

                               Neema Kumar
                               Vice President, IP North America

                               Philip Carey
                               Senior Counsel, US IP Litigation

                        For Actavis Defendant Group:

                               Joseph Crystal
                               Associate General Counsel, North America Intellectual Property
                               Litigation
                               Teva Pharmaceuticals
                               400 Interpace Parkway #3
                               Parsippany, New Jersey 07054
                               Joseph.crystal@tevapharm.com

                        For Apotex Defendant Group:

                               Kevin Zive
                               VP, Global Intellectual Property and Legal Affairs
                               Apotex Inc.

                               Olga Kalinina
                               Director, Global Intellectual Property
                               Apotex Inc.




                                                15
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 16 of 43 PageID #: 1090




                        For Aurobindo Defendant Group:

                               Debashis Dash
                               Vice President-IPR
                               Aurobindo Pharma Limited
                               Plot No. 2, Maitrivihar, Arneerpet
                               Hyderabad - 500 038
                               Telangana, India

                               S.D.V.N. Sivaram
                               Associate Vice Presient-IPR
                               Aurobindo Pharma Limited
                               Plot No. 2, Maitrivihar, Arneerpet
                               Hyderabad - 500 038
                               Telangana, India

                               A. Badrinath
                               Sr. Manager-IPR
                               Aurobindo Pharma Limited
                               Plot No. 2, Maitrivihar, Arneerpet
                               Hyderabad - 500 038
                               Telangana, India

                        For Sawai Defendant Group:

                               Ms. Nobuko Sugimoto
                               Intellectual Property Department
                               Sawai Pharmaceutical Co., Ltd.
                               2-30, Miyahara 5-chome, Yodogawa-ku,
                               Osaka 532-0003 JAPAN

                               Mr. Kawazuki Maeda
                               Intellectual Property Department
                               Sawai Pharmaceutical Co., Ltd.
                               2-30, Miyahara 5-chome, Yodogawa-ku,
                               Osaka 532-0003 JAPAN

                        For Prinston Defendant Group:

                               Lesley Zhu
                               Senior Vice President, Business Development & Portfolio
                               Prinston Pharmaceutical, Inc.
                               700 Atrium Drive
                               Somerset, NJ 08873



                                                16
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 17 of 43 PageID #: 1091




                           For Zydus Defendant Group:

                                    Dr. Brij Khera
                                    Executive Vice President and Chief Legal Officer
                                    Zydus Pharmaceuticals (USA) Inc.
                                    73 Route 31 N.
                                    Pennington, NJ 08534

                           For Lupin Defendant Group:

                                    Dr. Archna Roy
                                    Deputy General Manager, IP Management Group
                                    Lupin Ltd.

                                    Sreekanth Sivarathri
                                    Manager, IP Management Group
                                    Lupin Ltd.

                                    Pritam Agale
                                    Senior Executive, IP Management Group
                                    Lupin Ltd.


           C.        Testifying Experts, Outside Consultants, and their staff regarding any issue in this

                     Litigation and who are not current employees of any of the Parties to this Litigation,

                     whose advice and consultation are being or will be used in connection with this

                     Litigation, including their stenographic, laboratory, and/or clerical personnel;

           D.        The Court before which this Litigation is pending and its authorized staff, court

                     reporters, and the jury;

           E.        Any interpreter or translation service, and any typist or transcriber used thereby;

                     and

           F.        A Party’s outside copying, graphic, or design services, computer services, trial

                     consultants, court reporters, videographers, computerized litigation support and

                     information management services, e-discovery vendors and contract document

                     review attorneys performing services in conjunction with this Litigation, and other

                                                      17
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 18 of 43 PageID #: 1092




                     such litigation-related services, who are assisting in the prosecution or defense of

                     this Litigation.

       12. Further Requirements for Access to CONFIDENTIAL INFORMATION: Prior to

   disclosure of CONFIDENTIAL INFORMATION to any of the persons described in Paragraph 11,

   the following further limitations shall apply:

           A.        With respect to any of the persons described in Paragraph 11.B, counsel for the

                     Receiving Party shall first obtain from each such person a signed Undertaking

                     substantially in the form annexed as Exhibit A, and CONFIDENTIAL

                     INFORMATION shall not be disclosed to any such person for a period of fourteen

                     (14) days after serving by electronic mail the Producing Party with such

                     Undertaking.

           B.        With respect to any of the Testifying Experts or Outside Consultants described in

                     Paragraph 11.C, counsel for the Receiving Party shall first obtain from each such

                     person:

                               (1).     A signed Undertaking substantially in the form annexed as Exhibit

                                        A;

                               (2). A current curriculum vitae or resume (including employment

                                        history);

                               (3). A list of all publications authored in the previous 10 years;

                               (4). A disclosure of any consulting or other relationship to any Parties to

                                        this Litigation within the past five (5) years (excluding non-

                                        testifying litigation consulting the existence of which is protected by

                                        attorney work product immunity);


                                                          18
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 19 of 43 PageID #: 1093




                              (5). A list of all other cases in which, during the previous 4 years, the

                                    witness testified as an expert at trial or by deposition; and

                              (6). An identification of which Party or Parties retained the Testifying

                                    Expert or Outside Consultant.

                     CONFIDENTIAL INFORMATION shall not be disclosed to any such person for a

                     period of fourteen (14) days after serving by electronic mail the Producing Party

                     with all items required in this subparagraph. This disclosure provision is not

                     applicable to staff, consultants, laboratory and technical personnel working under

                     the direction of the Testifying Experts or Outside Consultants, who will be granted

                     access under the control of the Testifying Expert or Outside Consultant once

                     allowed under this Protective Order.

       13. Objections to Testifying Experts and Outside Consultants: Counsel for the Producing

   Party may within seven (7) days after service of all items required in Paragraph 12.B, serve an

   objection if a reasonable basis for such objection exists. If counsel for the Producing Party fails

   to object to such disclosure within the prescribed period, any objection to such disclosure shall be

   deemed waived, except as to a basis for objection that was not known and could not reasonably

   have been discovered within the seven-day period. CONFIDENTIAL INFORMATION will not

   be disclosed to the person as to whom objection was served, absent agreement by the Producing

   Party who served the objection. If within seven (7) days after service of an objection, no agreement

   is reached between the Parties to the objection, then counsel for the Producing Party who served

   the objection may seek relief from the Court pursuant to the Court’s dispute procedure set forth in

   the Scheduling Order for an order denying disclosure of any CONFIDENTIAL INFORMATION

   to the person as to whom the objection was served no later than ten (10) days after service of the


                                                      19
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 20 of 43 PageID #: 1094




   objection. If the Producing Party seeks such relief, CONFIDENTIAL INFORMATION shall not

   be disclosed to the person as to whom the objection was served until the Court orders, or agreement

   is reached, that such disclosure may be made. Failure to timely contact the Court pursuant to the

   Court’s discovery dispute procedure set forth in the Scheduling Order shall operate as a waiver of

   such objection.

       14. Substitution of In-House Counsel. If at the time this Protective Order is signed, a Party

   has not identified each of its in-house legal personnel as allowed in Paragraph 11.B, it may add in-

   house legal personnel provided it serves written notification to all Producing Parties along with a

   completed and signed Undertaking substantially in the form annexed as Exhibit A. Additionally,

   the Parties may, on a one-for-one basis, substitute other in-house legal personnel under Paragraph

   11.B for the previously listed person(s), provided that the Party making such a substitution gives

   the other Party seven (7) days written notice prior to said substitution. The Producing Party has a

   period of seven (7) days to object to the addition or substitution of in-house legal personnel, unless

   otherwise extended by mutual agreement between the Parties, commencing with the receipt by

   outside counsel for the Producing Party of a copy of the in-house legal personnel’s completed and

   signed Undertaking substantially in the form annexed as Exhibit A. During this period, outside

   counsel for the Producing Party may object in good faith to the disclosure of CONFIDENTIAL

   INFORMATION to this in-house legal personnel for cause (e.g., an identified conflict of interest).

   If outside counsel for the Producing Party fails to object to such disclosure within the prescribed

   period, any objection to such disclosure shall be deemed waived, except as to a basis for objection

   that was not known and could not reasonably have been discovered within the five-day period. In

   the event that a good faith objection is made within the prescribed period, there shall be no

   disclosure of CONFIDENTIAL INFORMATION to the in-house legal personnel. Within seven


                                                    20
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 21 of 43 PageID #: 1095




   (7) days after receipt of the objection, if the Parties are unable to reach any agreement over the

   disclosure of CONFIDENTIAL INFORMATION to the in-house legal personnel, outside counsel

   for the objecting Party may subsequently move the Court for an order denying disclosure of any

   CONFIDENTIAL INFORMATION to the in-house legal personnel. If the objecting Party files

   this motion, the CONFIDENTIAL INFORMATION shall not be disclosed to the in-house legal

   personnel until the Court rules or the objecting parties agree that such disclosure may be made.

   Failure to file such a motion within the seven (7) day period shall operate as a waiver of this

   objection.

       15. Sharing of CONFIDENTIAL INFORMATION between Defendant Groups. Other

   than as set forth in this Paragraph 15, any person permitted access to CONFIDENTIAL

   INFORMATION of a Defendant Group shall not produce or otherwise disclose such

   CONFIDENTIAL INFORMATION to any other Defendant Group without first obtaining (1)

   consent from the producing Defendant Group, or (2) an order from the Court.

           Plaintiffs are permitted to include CONFIDENTIAL INFORMATION of one or more

   Defendant Group in any court pleadings, filings, briefs, letters, expert reports, discovery requests

   and responses, and contentions provided that Plaintiffs serve on all Defendant Groups (1) a clean

   copy marked on the front page as “Outside Counsel Only. Contains Confidential Information of”

   followed by a list of the Defendant Group(s) whose CONFIDENTIAL INFORMATION is

   included in the document, and (2) a copy that highlights in yellow all of Defendants’

   CONFIDENTIAL INFORMATION and is marked on the front page as “Outside Counsel Only.

   Contains Confidential Information of” followed by a list of the Defendant Group(s). Both copies

   shall be served only on persons designated to receive CONFIDENTIAL INFORMATION under

   Paragraph 11.A (i.e., outside counsel).      Representatives of each Defendant Group whose


                                                   21
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 22 of 43 PageID #: 1096




   CONFIDENTIAL INFORMATION has been highlighted will identify to Plaintiffs what

   highlighted material should be redacted.         After Plaintiffs receive confirmation from each

   Defendant Group for which Plaintiff identified CONFIDENTIAL INFORMATION about the

   extent of redaction necessary, Plaintiffs shall provide a redacted copy that may be provided to

   authorized recipients of CONFIDENTIAL INFORMATION.

           A Party may use the CONFIDENTIAL INFORMATION of any Defendant Group at a

   court hearing, deposition, or at trial attended by persons permitted access under Paragraph 11.A or

   Testifying Experts in Paragraph 11.C, whether or not that counsel or Testifying Expert was

   retained by that Defendant Group.

       16. Limitations on the Use of CONFIDENTIAL INFORMATION. Except as expressly set

   forth this Protective Order, nothing in this Protective Order shall prevent or limit any Party’s ability

   to use the CONFIDENTIAL INFORMATION produced by another Party for any purpose in

   connection with this Litigation, including but not limited to, pleadings, discovery responses, expert

   reports, depositions, briefs, at hearings, or at trials. CONFIDENTIAL INFORMATION shall be

   used only for the purposes of this Litigation, and those persons with access to CONFIDENTIAL

   INFORMATION shall not use such CONFIDENTIAL INFORMATION for competitive business

   decisions and/or regulatory decisions unrelated to this Litigation. Nothing in the Protective Order

   prevents any person who has access to CONFIDENTIAL INFORMATION from performing work

   before the FDA solely for obtaining or maintaining approval of the Receiving Party’s own NDA,

   sNDA, ANDA, or sANDA, provided no CONFIDENTIAL INFORMATION of the Producing

   Party is used or disclosed. Nothing in this Protective Order shall limit or restrict the manner in

   which any Party may use or handle its own CONFIDENTIAL INFORMATION.

           Notwithstanding the above restrictions, the following additional restrictions shall apply to


                                                     22
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 23 of 43 PageID #: 1097




   the identified persons provided access in Paragraph 11 to CONFIDENTIAL INFORMATION:

           A.        With respect to persons identified in Paragraphs 11.A, 11.B, or 11.C, such persons

                     shall not engage in prosecution of patent applications claiming mirabegron,

                     polymorphs of mirabegron, pharmaceutical compositions containing mirabegron,

                     and/or, including any methods of use or administration of mirabegron, for a period

                     beginning when such person first accessed the CONFIDENTIAL INFORMATION

                     of a Producing Party and ending two (2) years from the termination of this

                     Litigation (including any appeals thereof), without prior approval to do so from the

                     Producing Party. This subparagraph does not prevent the person from monitoring

                     or providing advice concerning such prosecution, but such advice cannot include

                     providing recommendations regarding drafting, crafting, or amending of patent

                     claims to persons engaged on behalf of the Receiving Party in such activities

                     performing work before the U.S. Patent & Trademark Office or foreign patent

                     office, and no CONFIDENTIAL INFORMATION of the Producing Party may be

                     used or disclosed.    This subparagraph further precludes the use of all other

                     CONFIDENTIAL INFORMATION by such persons for the purposes of amending,

                     crafting, or drafting of patent claims (including providing recommendations

                     regarding drafting, crafting, or amending of patent claims to persons engaged on

                     behalf of the Receiving Party in such activities) relating to mirabegron during post-

                     grant proceedings, including inter partes review proceedings, post-grant review

                     proceedings, and covered business method review proceedings, reissue, or ex parte

                     reexamination before the U.S. Patent & Trademark Office, or corresponding

                     proceedings before any foreign patent authority, without first obtaining (1) consent


                                                      23
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 24 of 43 PageID #: 1098




                     from the Producing Party or (2) an order from the Court. Such persons, however,

                     shall not be precluded from otherwise participating on behalf of the Receiving Party

                     in any such post-grant proceedings with respect to patents involving mirabegron,

                     or any appeals thereof, but in any post grant proceeding initiated by the patent

                     owner such advice cannot include providing recommendations regarding drafting,

                     crafting, or amending of patent claims (including providing recommendations

                     regarding drafting, crafting, or amending of patent claims) to persons engaged on

                     behalf of the Receiving Party in such activities, and, in any case, no

                     CONFIDENTIAL INFORMATION of the Producing Party may be used or

                     disclosed without first obtaining (1) consent from the Producing Party or (2) an

                     order from the Court.

           B.        With respect to persons identified in Paragraphs 11.B, such persons shall not be

                     involved in any petitioning, counseling, litigation, or other work before or involving

                     the FDA concerning Myrbetriq®, mirabegron, and/or therapeutic equivalents

                     thereof, including any methods of use or administration of mirabegron, including

                     but not limited to the preparation or submission of any FDA correspondence (e.g.,

                     citizen petitions), or any similar correspondence in any foreign country, regarding

                     approval requirements for mirabegron, for a period beginning when such person

                     first has access to CONFIDENTIAL INFORMATION and ending two (2) years

                     from the end of this Litigation (including any appeals thereof), without prior

                     approval to do so from the Producing Party. Provided, however, nothing in this

                     provision prevents the person from performing work before the FDA solely for

                     obtaining or maintaining approval of the Receiving Party’s own NDA, sNDA, or


                                                      24
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 25 of 43 PageID #: 1099




                     ANDA provided no CONFIDENTIAL INFORMATION of the Producing Party is

                     used or disclosed.

           The restrictions provided in these subparagraphs above shall apply to individual persons

   and not the organizations by which they are employed or affiliated, provided however, that an

   appropriate ethical wall shall be established if others at the organization are engaged in any of the

   above activities.

       17. Disclosure to Other Persons. CONFIDENTIAL INFORMATION may be disclosed to

   persons not identified in Paragraph 11 as follows:

           A.        To persons not identified in Paragraph 11 as agreed to by the Producing Party;

           B.        Any Receiving Party may move the Court for an order, pursuant to the procedure

                     set forth in the Scheduling Order, that a person not identified in Paragraph 11 be

                     given access to information designated CONFIDENTIAL INFORMATION. If the

                     motion is granted, such person may have access to the CONFIDENTIAL

                     INFORMATION after first signing an Undertaking substantially in the form of

                     Exhibit A attached hereto;

           C.        Any Receiving Party may disclose CONFIDENTIAL INFORMATION to a person

                     who: (i) prepared, received, reviewed, or had personal knowledge of the

                     CONFIDENTIAL INFORMATION as demonstrated by the CONFIDENTIAL

                     INFORMATION itself or foundation testimony; (ii) is a currently-employed officer

                     or director of a Producing Party but only the CONFIDENTIAL INFORMATION

                     of the Producing Party; and/or (iii) is a witness designated for the Producing Party

                     under Fed. R. Civ. P. 30(b)(6) concerning any topic to which the CONFIDENTIAL

                     INFORMATION is relevant; and


                                                      25
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 26 of 43 PageID #: 1100




           D.        A Party may disclose or use in any manner or for any purpose any

                     CONFIDENTIAL INFORMATION that the Party itself has designated

                     CONFIDENTIAL INFORMATION under this Protective Order.

       18. Other Proceedings. By entering this Protective Order and limiting the disclosure of

   information in this case, the Court does not intend to preclude another court from finding that

   information may be relevant and subject to disclosure in another case. Any person or Party subject

   to this Protective Order who becomes subject to a motion to disclose another Party’s information

   designated “CONFIDENTIAL INFORMATION” pursuant to this Protective Order shall notify

   that Party within seven (7) days of the motion so that the Party may have an opportunity to appear

   and be heard on whether that information should be disclosed.

       19. Filing Under Seal. If any Party files CONFIDENTIAL INFORMATION (including

   confidential portions of documents or transcripts) or any document, pleading, or brief that discloses

   the substance or content of CONFIDENTIAL INFORMATION in connection with any motion,

   other written submission, hearing, or trial in this Litigation, the filing Party shall make such filing

   under seal in accordance with Local Civil Rule 5.1.3, the United States District Court for the

   District of Delaware’s Administrative Procedures Governing Filing and Service by Electronic

   Means, and any other procedures required by the Court; provided, however, that the burden of

   proving that such information should be sealed shall at all times remain on the Party that designated

   the information CONFIDENTIAL INFORMATION.

           Any document that is to be filed with the Court that contains or discloses CONFIDENTIAL

   INFORMATION shall be marked “FILED UNDER SEAL” on its cover page, along with

   “Contains Confidential Information of” followed by a list of the Party or Parties whose

   CONFIDENTIAL INFORMATION is included in the filing, such as shown below:


                                                     26
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 27 of 43 PageID #: 1101




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


                                                      )   FILED UNDER SEAL
    ASTELLAS PHARMA INC., et al.,                     )
                                                      )   Contains Confidential Information
                           Plaintiffs,                )   of [LIST PARTIES]
                                                      )
                           v.                         )
                                                      )
    SANDOZ INC., et al.,                              )
                                                      )
                           Defendants.                )
                                                      )   C.A. No. 20-1589-JFB-CJB
                                                      )
                                                      )
                                                      )



                                           [Title of Document]



       20. Redaction of CONFIDENTIAL INFORMATION. With respect to any document that

   is filed with the Court by a Receiving Party, including any brief, letter, or declaration that contains

   the CONFIDENTIAL INFORMATION of a Producing Party, the Receiving Party will take all the

   necessary steps to preserve the confidentiality of the CONFIDENTIAL INFORMATION. No

   provision of this Protective Order modifies or relieves a Receiving Party from providing the Court

   with a fully redacted version of any document it files with the Court, wherein all CONFIDENTIAL

   INFORMATION of any Producing Party has been redacted for public dissemination, within the

   time period(s) required by the Court.

           To avoid confusion and motion-practice on the proper scope of redactions, for any

   document filed with the Court by a Producing Party or any expert report served by a Producing

   Party containing the Producing Party’s CONFIDENTIAL INFORMATION, the Producing Party

                                                     27
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 28 of 43 PageID #: 1102




   shall provide a redacted version of the document or expert report with the Producing Party’s own

   CONFIDENTIAL INFORMATION redacted within a reasonable time frame (and no more than 3

   days after it is filed).   With respect to any document that contains the CONFIDENTIAL

   INFORMATION of one or more Defendant Groups, the parties shall use the procedure set forth

   in Paragraph 15 to permit sharing amongst the Defendant Groups.

       21. Court Proceedings. With respect to testimony elicited during hearings, trial, or other court

   proceedings, whenever counsel for any Party deems that any question or line of questioning calls

   for the disclosure of CONFIDENTIAL INFORMATION, counsel may designate on the record

   that such disclosure is subject to this Protective Order.           Whenever matter designated

   CONFIDENTIAL INFORMATION is to be discussed in a hearing or other proceeding, any Party

   claiming such confidentiality may ask the Court to have excluded from the hearing or other

   proceeding any person who is not permitted access to the CONFIDENTIAL INFORMATION

   pursuant to this Protective Order and/or seek to redact portions of the transcript reflecting

   CONFIDENTIAL INFORMATION.

       22. Challenging Designations. The acceptance by the Receiving Party of material designated

   CONFIDENTIAL INFORMATION shall not constitute an admission or concession, or permit an

   inference that such material is, in fact, confidential. Any Receiving Party may at any time request

   that the Producing Party cancel or modify a CONFIDENTIAL INFORMATION designation.

   Such request shall be made to counsel for the Producing Party in writing and shall particularly

   identify the designated CONFIDENTIAL INFORMATION that the Receiving Party contends is

   not CONFIDENTIAL INFORMATION and the reasons supporting that contention.                     If the

   Producing Party does not agree to remove or modify the CONFIDENTIAL INFORMATION

   designation within fourteen (14) days of such request, the Party contending that such documents


                                                   28
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 29 of 43 PageID #: 1103




   or material are not properly designated may request by motion that the Court change the

   designation or remove such material from any or all of the restrictions of this Protective Order.

   On such a motion, the Party asserting confidentiality shall have the burden of proving that the

   material designated CONFIDENTIAL INFORMATION warrants the applicable protections under

   this Protective Order.

       23. Limitations on Advice to Clients. Nothing in this Protective Order shall bar or otherwise

   restrict any counsel from rendering advice to their client, and in the course thereof, relying upon

   such counsel’s examination of CONFIDENTIAL INFORMATION; provided, however, that in

   rendering such advice and in otherwise communicating with such client, the counsel shall not

   disclose any CONFIDENTIAL INFORMATION to unauthorized persons.

       24. No Expansion of Federal Rules of Civil Procedure. Nothing in this Protective Order

   shall be construed (1) to affect or govern the scope of discovery in this Litigation; (2) to preclude

   any Party from moving the Court for a further order pursuant to Fed. R. Civ. P. 26(c) or any other

   provision of the Federal Rules of Civil Procedure; (3) to require a Party to produce any

   CONFIDENTIAL INFORMATION that is not relevant and discoverable pursuant to Fed. R. Civ.

   P. 26 and the surrounding case law; (4) to preclude any Party from moving the Court for an order

   compelling production or disclosure of such material; or (5) to require production or disclosure of

   any CONFIDENTIAL INFORMATION deemed by counsel for the Producing Party to be

   protected from disclosure by the attorney-client privilege or the attorney work product immunity,

   or other privilege or immunity, so long as the withheld materials are identified in the manner

   required by the Federal Rules of Civil Procedure or as otherwise agreed by the Parties.

       25. Waiver or Termination of Protective Order; Survival of Obligations under Protective

   Order. No part of the restrictions imposed by this Protective Order may be waived or terminated,


                                                    29
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 30 of 43 PageID #: 1104




   except by written stipulation executed by counsel of record for each designating Party or by an

   order of the Court for good cause shown. This Protective Order shall survive the final termination

   of this Litigation, including all appeals, and continue to bind all persons to whom

   CONFIDENTIAL INFORMATION is disclosed hereunder to the extent such material is not, or

   does not become, known to the public. The Court retains jurisdiction subsequent to any settlement

   or entry of judgment to enforce the terms of this Protective Order.

       26. Handling of CONFIDENTIAL INFORMATION at the Conclusion of this Litigation.

   Within sixty (60) days after the conclusion of this Litigation, including any Appeals, all of the

   persons described in Paragraphs 11.B, 11.C, 11.E, or 11.F who were granted access to

   CONFIDENTIAL INFORMATION shall return to the Party’s outside counsel or confirm

   destruction of all copies of such documents or things.

           Upon final termination of this Litigation, including all appeals, outside counsel under

   Paragraph 11.A for Receiving Party may retain copies of all pleadings, briefs, motions,

   communications and other documents actually filed with the Court and/or served on opposing

   counsel (such as discovery requests and responses) that may include CONFIDENTIAL

   INFORMATION, deposition transcripts, deposition exhibits, expert reports, and the trial record,

   as well as any notes, summaries, or other work files prepared by attorneys or outside experts or

   consultants, derived from or containing CONFIDENTIAL INFORMATION. All other materials

   designated CONFIDENTIAL INFORMATION shall be, at the Receiving Party’s option: (i)

   returned (except for any that may be retained by the Court) to the Producing Party; or (ii) destroyed

   by counsel for the Receiving Party, except that Material contained in e-mails, computer databases,

   backup tapes or disks, and/or other electronic formats shall not be subject to the return or destroy

   requirement.      Each Receiving Party shall certify in writing within ninety (90) days of the


                                                    30
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 31 of 43 PageID #: 1105




   conclusion of this Litigation that it has complied with the provisions of this Paragraph. As to

   CONFIDENTIAL INFORMATION stored in e-mails, computer databases, backup tapes or disks,

   and/or other electronic formats, within ninety (90) days of the conclusion of this Litigation

   (including any appeals thereof), the Receiving Party shall either delete all such information or

   secure it in a manner reasonably calculated to prevent unauthorized access.

       27. Publicly Available Information. The restrictions and obligations set forth herein relating

   to material designated CONFIDENTIAL INFORMATION shall not apply to any information that

   the Producing Party agrees, or the Court rules, (a) should not be designated as such; (b) is or has

   become public knowledge other than as a result of disclosure by the Receiving Party, its

   employees, or agents in violation of this Protective Order; or (c) has come or shall come into the

   Receiving Party’s legitimate knowledge or possession independently of the Producing Party under

   conditions such that its use and/or public disclosure by the Receiving Party would not violate any

   obligation to the Producing Party. The restrictions and obligations set forth herein shall not

   prohibit discussions of any material designated CONFIDENTIAL INFORMATION with any

   person who already has or obtains legitimate possession thereof.

       28. Notices. Notices under this Protective Order shall be provided to the Parties’ respective

   counsel by electronic mail, unless this provision is modified in writing by the Parties. The date by

   which a Party receiving a notice shall respond, or otherwise take action, shall be computed from

   the close of the business day that the electronic mail was received in the office of counsel.

           A. Notice to Defendants shall be to:




                                                    31
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 32 of 43 PageID #: 1106




           For Sandoz Defendant Group:

                     William A. Rakoczy
                     RAKOCZY MOLINO MAZZOCHI SIWIK LLP
                     Six West Hubbard Street
                     Chicago, IL 60654
                     (312) 527-2157
                     wrakoczy@rmmslegal.com

           For Actavis Defendant Group:

                     Samantha Lerner WINSTON & STRAWN LLP
                     35 West Wacker Dr.
                     Chicago, IL 60601-9703
                     Tel: (312) 558-5600
                     Fax: (312) 558-5700
                     SLerner@winston.com

           For Apotex Defendant Group:

                     Deepro Mukerjee
                     Lance Soderstrom
                     Katten Muchin Rosenman LLP
                     525 Madison Avenue
                     New York, NY 10022
                     deepro.mukerjee@katten.com
                     lance.soderstrom@katten.com

                     Joseph Janusz
                     Katten Muchin Rosenman LLP
                     550 S. Tryon Street, Suite 2900
                     Charlotte, NC 28202
                     joe.janusz@katten.com

           For Aurobindo Defendant Group:

                     Dennies Varughese (pro hac vice)
                     Sterne, Kessler, Goldstein & Fox
                     1100 New York Ave.
                     Washington, D.C. 20005
                     (202) 371-2600
                     dvarughese@sternekessler.com




                                                       32
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 33 of 43 PageID #: 1107




           For Sawai Defendant Group:

                     Brian J. Sodikoff
                     Katten Muchin Rosenman LLP
                     525 W. Monroe St.
                     Chicago IL 60661
                     (312) 902-5616
                     brian.sodikoff@katten.com

                     Martin S. Masar III
                     Katten Muchin Rosenman LLP
                     525 W. Monroe St.
                     Chicago IL 60661
                     (312) 902-5616
                     USR-Mirabegron@katten.com

           For Prinston Defendant Group:

                     Shashank Upadhye
                     Upadhye Tang LLP
                     109 Symonds Drive #174
                     Hinsdale, IL 60522-0174

           For Zydus Defendant Group:

                     Michael J. Gaertner
                     Locke Lord LLP
                     111 South Wacker Dr.
                     Chicago, IL 60606
                     mgaertner@lockelord.com

           For Lupin Defendant Group:

                     William Zimmerman
                     Knobbe Martens Olson & Bear, LLP
                     1717 Pennsylvania Ave., NW, Ste. 900
                     Washington, DC 20006
                     bill.zimmerman@knobbe.com and KMOB-Mira@knobbe.com




                                                  33
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 34 of 43 PageID #: 1108




           B. Notice to Plaintiffs shall be to:

                     Simon D. Roberts
                     HOGAN LOVELLS US LLP
                     390 Madison Avenue
                     New York, NY 10017
                     Tel: (212) 918-3781
                     Fax: (212) 918-3100
                     simon.roberts@hoganlovells.com

       29. Storage of CONFIDENTIAL INFORMATION. The Receiving Party of any

   CONFIDENTIAL INFORMATION shall maintain such information in a secure and safe manner

   and shall exercise the same standard of due and proper care with respect to the storage, custody,

   use and/or dissemination of such information as is exercised by the Receiving Party with respect

   to his/her/its own proprietary information. Any vendor providing a Party with ongoing access to

   CONFIDENTIAL INFORMATION shall provide limited and secure access to the information

   (such as information stored on a computer) and the vendor will take steps to provide access (e.g.,

   through access codes or passwords) only to people who are entitled to access it under this

   Protective Order (including people retained or employed by the vendor entitled to such access).

       30. Parties to this Litigation. In the event additional parties join or are joined in this

   Litigation, they shall not have access to CONFIDENTIAL INFORMATION until the newly joined

   party or its counsel has executed and, at the request of any Party, filed with the Court its agreement

   to be fully bound by this Protective Order or an alternative protective order is agreed to by all

   Parties and entered by the Court. In the event that a new party is added, substituted, or brought

   into this Litigation, or in the event that new or substitute counsel is retained by a Party, this

   Protective Order shall be binding on and inure to the benefit of the new party, subject to the right

   of the new party to seek relief from or modification of the Protective Order. To the extent that a

   new party is added, substituted, or brought into this Litigation due to its relationship, either directly


                                                      34
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 35 of 43 PageID #: 1109




   or indirectly, with the ANDA and/or NDA submitted by one of the Defendant Groups(s) defined

   in Paragraph 2.B, the new party shall be deemed included in that Defendant Group for all purposes

   in this Protective Order.

         31. Modification of Order; Prior Orders and Agreements. This Protective Order may be

   modified, and any matter related to it may be resolved, by written stipulation of the Parties without

   further Order of the Court. Additionally, this Protective Order may be changed by further order

   of the Court, and is without prejudice to the rights of any Party to move for relief from any of its

   provisions, or to seek or agree to different or additional protection for any particular material or

   information.      This Protective Order supersedes any agreements between Plaintiffs and any

   Defendant regarding the confidentiality of particular information entered into before the date of

   this Protective Order, unless that particular information was previously subject to the First Action’s

   Protective Order, as amended by the stipulation of the Parties (Astellas Pharma Inc., et al. v.

   Actavis Elizabeth LLC. et al., C.A. No. 16-905-JFB-CJB (Consolidated), D.I. 607), in which case

   the provisions of Paragraph 32 shall control.

         32. Entry of Protective Order. Until such time as this Protective Order has been entered by

   the Court, the Parties agree to follow the stipulation (Astellas Pharma Inc., et al. v. Actavis

   Elizabeth LLC. et al., C.A. No. 16-905-JFB-CJB (Consolidated), D.I. 607) amending the First

   Action’s Protective Order. Once entered, any confidential information produced or disclosed

   pursuant to the First Action’s Protective Order shall be designated CONFIDENTIAL

   INFORMATION under this Protective Order without the express need to designate it subject to

   this Protective Order unless: (1) that information has previously been de-designated under the First

   Action’s Protective Order; or (2) otherwise meets the standard for public disclosure in Paragraph

   27.


                                                    35
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 36 of 43 PageID #: 1110




           Persons who were permitted access to CONFIDENTIAL INFORMATION produced under

   the First Action’s Protective Order shall continue to have access to CONFIDENTIAL

   INFORMATION produced under the First Action’s Protective Order for 30 calendar days after

   entry of this Protective Order by the Court. After 30 calendar days, any person previously

   permitted access to CONFIDENTIAL INFORMATION produced under the First Action’s

   Protective Order must meet all of the requirements of this Protective Order in order to continue to

   access CONFIDENTIAL INFORMATION, including, if required to do so by this Protective

   Order, executing the Undertaking substantially in the form annexed as Exhibit A. Persons who

   were permitted access to CONFIDENTIAL INFORMATION produced under the First Action’s

   Protective Order and are no longer eligible to access CONFIDENTIAL INFORMATION under

   this Protective Order, no longer desire to do so, and/or who have not complied with all of the

   provisions of this Protective Order to gain access, shall comply with all provisions regarding return

   and/or destruction of CONFIDENTIAL INFORMATION as set forth in the First Action’s

   Protective Order within 60 calendar days of the entry of this Protective Order.



    Dated: April 20, 2021

    Plaintiffs’ Counsel                               Sandoz’s Counsel


    /s/ Daniel M. Silver                              /s/ Dominick T. Gattuso
    Daniel M. Silver (#4758)                          Dominick T. Gattuso (No. 3630)
    Alexandra M. Joyce (#6423)                        Elizabeth A. DeFelice (No. 5474)
    MCCARTER & ENGLISH, LLP                           HEYMAN ENERIO GATTUSO & HIRZEL LLP
    Renaissance Centre                                300 Delaware Ave., Suite 200
    405 N. King Street, 8th Floor                     Wilmington, DE 19801
    Wilmington, Delaware 19801                        (308) 472-7300
    (302) 984-6300                                    dgattuso@hegh.law
    dsilver@mccarter.com                              edefelice@hegh.law
    ajoyce@mccarter.com


                                                    36
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 37 of 43 PageID #: 1111




    Of Counsel:                              Of Counsel:

    Simon D. Roberts                         William A. Rakoczy
    Jason A. Leonard                         Deanne M. Mazzochi
    Nitya Anand                              Rachel Pernic Waldron
    Chika S. Seidel                          Kevin Patrick Burke
    Vincent Li                               RAKOCZY MOLINO MAZZOCHI SIWIK LLP
    HOGAN LOVELLS US LLP                     6 West Hubbard Street, Suite 500
    390 Madison Avenue                       Chicago, IL 60654
    New York, NY 10017                       (312) 222-7543
    (212) 918-3000                           wrakoczy@rmmslegal.com
    simon.roberts@hoganlovells.com           dmazzochi@rmmslegal.com
    jason.leonard@hoganlovells.com           rpernicwaldron@rmmslegal.com
    nitya.anand@hoganlovells.com             kburke@rmmslegal.com
    chika.seidel@hoganlovells.com
    vincent.li@hoganlovells.com

    Celine Jimenez Crowson
    HOGAN LOVELLS US LLP
    Columbia Square
    555 Thirteenth Street, NW
    Washington, D.C. 20004
    (202) 637-5600
    celine.crowson@hoganlovells.com

    Lupin’s Counsel                          Sawai’s Counsel

    /s/ John C. Phillips, Jr.                /s/ Dominick T. Gattuso
    John C. Phillips, Jr. (#110)             Dominick T. Gattuso (No. 3630)
    David A. Bilson (#4986)                  HEYMAN ENERIO GATTUSO & HIRZEL LLP
    Megan C. Haney (#5016)                   300 Delaware Avenue, Suite 200
    PHILLIPS, MCLAUGHLIN & HALL, P.A.        Wilmington, DE 19801
    1200 North Broom Street                  (308) 472-7300
    Wilmington, DE 19806                     dgattuso@hegh.law
    jcp@pmhdelaw.com
    dab@pmhdelaw.com                         Of Counsel:
    mch@pmhdelaw.com
                                             Brian J. Sodikoff
    Of Counsel:                              Martin S. Masar III
                                             Matthew M. Holub
    William R. Zimmerman                     KATTEN MUCHIN ROSENMAN LLP
    Andrea Cheek                             525 W. Monroe St.
    Payne McQueen Montgomery                 Chicago, IL 60661
    KNOBBE, MARTENS, OLSON & BEAR,           brian.sodikoff@katten.com
    LLP                                      martin.masar@katten.com
    1717 Pennsylvania Ave. N.W., Ste. 900    matthew.holub@katten.com

                                            37
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 38 of 43 PageID #: 1112




    Washington D.C. 20006
    Tel: (202) 640-6400                   Actavis’ Counsel
    Fax: (202) 640-6401
    Bill.Zimmerman@knobbe.com             /s/ Andrew E. Russell
    Andrea.Cheek@knobbe.com               Karen E. Keller (# 4489)
    Mack.Montgomery@knobbe.com            Andrew E. Russell (# 5382)
                                          SHAW KELLER LLP
    Carol Pitzel Cruz                     I.M. Pei Building
    KNOBBE, MARTENS, OLSON & BEAR,        1105 N. Market Street, 12th Floor
    LLP                                   Wilmington, DE 19801
    925 Fourth Avenue, Suite 2500         (302) 298-0700
    Seattle, WA 98104                     kkeller@shawkeller.com
    Tel: (206) 405-2000                   arussell@shawkeller.com
    Fax: (206) 405-2001
    Carol.Pitzel.Cruz@knobbe.com          Of Counsel:

                                          George C. Lombardi
                                          Samantha Lerner
    Zydus’ Counsel                        Jason Z. Pesick
                                          Paul J. Sauerteig
    /s/ Pilar G. Kraman                   WINSTON & STRAWN LLP
    Pilar G. Kraman (No. 5199)            35 West Wacker Dr.
    Beth A. Swadley (No. 6331)            Chicago, IL 60601-9703
    YOUNG CONAWAY STARGATT                Tel: (312) 558-5600
    & TAYLOR, LLP                         Fax: (312) 558-5700
    Rodney Square                         GLombard@winston.com
    1000 North King Street                SLerner@winston.com
    Wilmington, DE 19801                  JPesick@winston.com
    (302) 571-6600                        PSauerteig@winston.com
    pkraman@ycst.com
    bswadley@ycst.com

    Of Counsel

    Michael J. Gaertner
    David B. Abramowitz
    Carolyn A. Blessing
    Emily L. Savas
    Jennifer M. Coronel
    Smitha B. Uthaman
    LOCKE LORD LLP
    111 South Wacker Drive
    Chicago, IL 60606
    (312) 443-0700



                                        38
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 39 of 43 PageID #: 1113




    Aurobindo’s Counsel                   Prinston’s Counsel

    /s/ Kenneth L. Dorsney                /s/ Stamatios Stamoulis
    Kenneth L. Dorsney (#3726)            Stamatios Stamoulis (#4606)
    Cortlan S. Hitch (#6720)              STAMOULIS & WEINBLATT LLC
    MORRIS JAMES LLP                      800 N. West Street, Third Floor
    500 Delaware Avenue, Suite, 1500      Wilmington, DE 19801
    Wilmington, DE 19801                  Telephone: (302) 999-1540
    (302) 888-6800                        Facsimile: (302) 762-1688
    kdorsney@morrisjames.com              stamoulis@swdelaw.com]
    chitch@morrisjames.com
                                          Of Counsel:
    Of Counsel:
                                          Shashank Upadhye
    Dennies Varughese (pro hac vice)      Yixin Tang
    Sasha S. Rao (pro hac vice)           Brent Batzer
    Sterne, Kessler, Goldstein & Fox      Lindsay Eastman
    1100 New York Ave.                    Upadhye Tang LLP
    Washington, D.C. 20005                135 S LaSalle Street, Suite 1930
    (202) 371-2600                        Chicago, IL 60603
    dvarughese@sternekessler.com          Telephone: (312) 327-3326
    srao@sternekessler.com                shashank@ipfdalaw.com
                                          yixin@ipfdalaw.com
                                          brent@ipfdalaw.com
                                          lindsay@ipfdalaw.com
    Apotex’s Counsel

    /s/ Christopher F. Cannataro
    John M. Seaman (#3868)
    Christopher F. Cannataro (#6621)
    ABRAMS & BAYLISS LLP
    20 Montchanin Road, Suite 200
    Wilmington, DE 19807
    Telephone: (302) 778-1000
    Facsimile: (302) 778-1001
    seaman@abramsbayliss.com
    cannataro@abramsbayliss.com

    Of Counsel:




                                        39
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 40 of 43 PageID #: 1114




    Deepro R. Mukerjee
    Lance A. Soderstrom
    KATTEN MUCHIN ROSENMAN LLP
    575 Madison Avenue
    New York, New York 10022-2585
    (212) 940-8800

    Joseph M. Janusz
    KATTEN MUCHIN ROSENMAN LLP
    550 South Tryon Street, Suite 2900
    Charlotte, North Carolina 28202-4213
    (704) 444-2000

    Jillian M. Schurr
    KATTEN MUCHIN ROSENMAN LLP
    525 West Monroe Street
    Chicago, Illinois 60661-3693
    (312) 902-5200


                                           ____________________________________
                                           UNITED STATES MAGISTRATE JUDGE




                                             40
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 41 of 43 PageID #: 1115




                                              EXHIBIT A

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

                                                     )
    ASTELLAS PHARMA INC., et al.,                    )
                                                     )
                           Plaintiffs,               )
                                                     )
                           v.                        )
                                                     )   C.A. No. 20-1589-JFB-CJB
    SANDOZ INC., et al.,                             )
                                                     )
                           Defendants.               )
                                                     )
                                                     )
                                                     )
                                                     )

                                CONFIDENTIALITY UNDERTAKING


   I, ____________________________________________________, state that:

           (a) My present residential address is:

   ___________________________________________________________________________.

           (b) My present employer is:

   _____________________________________________________________________________.

           (c) The address of my present employer is:

   _____________________________________________________________________________.

           (d) My present occupation or job description is:

   _____________________________________________________________________________

   _____________________________________________________________________________.

           (e) I read the Stipulated Protective Order (“Protective Order”) in the above captioned case,

   entered by the Court on [DATE]. I certify that I understand the terms of that Protective Order,


                                                    1
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 42 of 43 PageID #: 1116




   recognize that I am bound by the terms of that Protective Order, and agree to comply with those

   terms. Further, I understand that unauthorized disclosure of any designated CONFIDENTIAL

   INFORMATION, or its substance, may constitute contempt of this Court and may subject me to

   sanctions or other remedies that may be imposed by the Court and potentially liable in a civil action

   for damages by the disclosing Party.

            (f) I understand that the CONFIDENTIAL INFORMATION disclosed to me is subject to

   various restrictions of use and disclosure, including the restriction that it is to be used solely in

   connection with this litigation, and not for any business or other purpose whatsoever.

            (g) I agree not to use any CONFIDENTIAL INFORMATION except for purposes of the

   above-captioned case, and I agree not to disclose any such CONFIDENTIAL INFORMATION to

   persons other than those specifically authorized by said Order, without the express written consent

   of the Party who designated such document and/or information as being CONFIDENTIAL

   INFORMATION or by order of this Court. I also agree to notify any stenographic, clerical,

   laboratory, or technical personnel who are required to assist me of the terms of said Protective

   Order.

            (h) I understand that I am to retain all documents and/or information designated

   CONFIDENTIAL INFORMATION in a secure manner, and that all such documents and

   information are to remain in my personal custody until the completion of my assigned duties in

   this matter, whereupon all such documents and/or materials, including all copies thereof, and any

   writing prepared by me containing any CONFIDENTIAL INFORMATION, are to be destroyed

   or returned to counsel who provided me with such documents and materials as set forth in

   Paragraph 26.




                                                    2
   ME1 36328467v.1
Case 1:20-cv-01589-JFB-CJB Document 115 Filed 04/21/21 Page 43 of 43 PageID #: 1117




           (i) I agree to submit to the jurisdiction of the United States District Court for the District

   of Delaware for the purpose of enforcing the terms of this Stipulated Protective Order, even if such

   enforcement proceedings occur after termination of this Litigation.

           I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.



   Executed on (date): ______________________             Name:____________________________




                                                     3
   ME1 36328467v.1
